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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 JEFF LOPEZ, on behalf of himself and         §
 all others similarly situated,               §
                                              §
        Plaintiff-Intervenor,                 §
                                              §
 v.                                           §          Civil Action No. 3:08-cv-01975-O
                                              §
 SOUTHWEST AIRLINES CO.,                      §
                                              §
        Defendant.                            §
                                              §


 RICHARD CUSICK, DORRIS                       §
 McDOWELL SAMSIL, JR., and                    §
 MITCHELL HUNGERPILLER,                       §
 individually and on behalf of a class of     §
 similarly situated persons,                  §
                                              §
        Plaintiffs,                           §          Civil Action No. 3:09-cv-00137-O
                                              §
 v.                                           §
                                              §
 SOUTHWEST AIRLINES CO.,                      §
                                              §
        Defendant.                            §

                                            ORDER

        Before the Court are Defendant Southwest Airlines Co.’s (“Southwest”) Motion to

 Dismiss for Lack of Subject Matter Jurisdiction, Or Alternatively, Motion for Summary

 Judgment (“Motion to Dismiss”) (ECF No. 170), Brief in Support of Southwest’s Motion to

 Dismiss (ECF No. 171), Appendix in Support of Southwest’s Motion to Dismiss (ECF No. 172),

 each filed November 30, 2012; Plaintiffs’ Response to Southwest’s Motion to Dismiss (ECF No.

 187), filed December 21, 2012; and Southwest’s Reply (ECF No. 192), filed January 9, 2013.

 The Honorable Royal Furgeson held a hearing on Southwest’s Motion to Dismiss on April 3,

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 2013, and requested additional briefing from the parties. See Electronic Minute Entry, Apr. 3,

 2013, ECF No. 197; Hr’g Tr., ECF No. 199. Plaintiffs filed their Surreply to Southwest’s

 Motion to Dismiss on April 23, 2013 (ECF No. 202), and Southwest filed its Surresponse on

 May 13, 2013 (ECF No. 205). Southwest also filed a Supplemental Document on May 13, 2013

 (ECF No. 206). The above-referenced cases were coordinated for pre-trial purposes on February

 10, 2009, and since then the filings in both cases have been identical. The document numbers in

 this Order refer to those in Lopez v. Southwest Airlines Co., No. 3:08-cv-01975-O. These cases

 have been reassigned to the undersigned. Having reviewed Southwest’s Motion to Dismiss, the

 related briefing, and the applicable law, the Court finds that Southwest’s Motion to Dismiss

 should be and is hereby GRANTED. 1            The claims of the original named Plaintiffs are

 DISMISSED without prejudice for lack of standing. Consequently, Intervenors’ claims are

 DISMISSED without prejudice.

 I. SUMMARY

        These cases have a long, complicated procedural history. There are two cases: Lopez v.

 Southwest Airlines Co., No. 3:08-cv-01975-O, which was originally filed in the Western District

 of Texas, and Cusick v. Southwest Airlines Co., No. 3:09-cv-00137-O, which was originally filed

 in the Northern District of Alabama. The cases were coordinated for pre-trial purposes under

 Kleiner v. Southwest Airlines Co., No. 3:08-cv-01975-O, on February 10, 2009, and were later

 renamed Lopez v. Southwest Airlines Co. after Plaintiff Samuel Kleiner voluntarily dropped out.

 See Agreed Order Coordinate Pre-Trial Purposes, Feb. 10, 2009, ECF No. 28; Unopposed Mot.

 Voluntary Dismissal, ECF No. 47; Electronic Order Granting Unopposed Mot. Voluntary

 Dismissal, Sept. 21, 2009, ECF No. 48. Plaintiffs’ Original Complaint, filed on March 17, 2008,

 1
  This Order grants the following motions: Southwest’s Motion to Dismiss, Lopez v. Southwest Airlines
 Co., No. 3:08-cv-01975-O (N.D. Tex. Nov. 30, 2012), ECF No. 170; and Southwest’s Motion to Dismiss,
 Cusick v. Southwest Airlines Co., No. 3:09-cv-00137-O (N.D. Tex. Nov. 30, 2012), ECF No. 109.

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 alleged that Southwest had committed a broad number of violations of various “airworthiness

 directive” safety measures mandated by the federal government, thereby risking passenger

 safety. See generally Compl., ECF No. 1. These violations, which have been the subject of

 congressional hearings, led to the breach-of-express-warranty claims asserted in this litigation.

 Plaintiffs’ Consolidated Amended Class Action Complaint alleges that the following language in

 paragraph 125 of Southwest’s Contract of Carriage contains the express warranty that Southwest

 breached:

                  All transportation is sold and all carriage is performed subject to
                  compliance with all applicable laws and governmental regulations,
                  including those of the U.S. Department of Transportation, the
                  Federal Aviation Administration, and the Transportation Security
                  Administration, many of which are not specified herein but are
                  nonetheless binding on Carrier and all passengers.

 Pls.’ Consolidated Am. Class Action Compl. ¶ 157, ECF No. 156.

        Plaintiffs presented several bases for these claims, including very broad claims that

 Southwest committed a breach of express warranty in allowing wide-scale, systematic violations

 of federal regulations in general. Although Plaintiffs retain these broad claims, they have

 winnowed down their claims for purposes of seeking class certification to only those arising out

 of the alleged violations of one particular airworthiness directive, the Chem-Mill Airworthiness

 Directive (“Chem-Mill AD”), which was one of the many claims included in the original

 complaint.      See generally Pls.’ Mot. Class Certification, ECF No. 166.        Plaintiffs’ Class

 Certification Motion limits the six subclasses to persons who flew on Southwest “aircraft [that

 were] in violation of Airworthiness Directive (“AD”) 2004-18-06 (the “Chem Mill AD”).” See

 id. at 1. Plaintiffs do not seek certification of a class of people who flew on Southwest aircraft

 that allegedly violated any other Airworthiness Directive or federal air-safety regulation. See

 generally id.


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        After several years of discovery, it was revealed that none of the original named Plaintiffs

 had flown on an aircraft that violated Chem-Mill AD. In fact, this point is undisputed. See App.

 Supp. Def.’s Mot. Dismiss Ex. 2 (Brown Decl.), at App. 59, ¶ 7, ECF No. 172; id. Ex. 2.A.

 (Chem-Mill AD Information Chart), at App. 60–63; id. Ex. 3 (Whelchel Decl.), at App. 64–69;

 id. Ex. 3.A.–D. (Passenger Records Spreadsheets), at App. 70–76. To pursue the Chem-Mill AD

 claims, Plaintiffs moved to add a group of intervenors in both cases on May 21, 2012. See

 Unopposed Mot. Intervene, Lopez v. Southwest Airlines Co., No. 3:08-cv-01975-O (N.D. Tex.

 May 21, 2012), ECF No. 154; Unopposed Mot. Intervene, Cusick v. Southwest Airlines Co., No.

 3:09-cv-00137-O (N.D. Tex. May 21, 2012), ECF No. 93. The Court granted their unopposed

 motions to intervene. See Electronic Order Granting Mot. Intervene, Lopez v. Southwest Airlines

 Co., No. 3:08-cv-01975-O (N.D. Tex. May 22, 2012), ECF No. 155; Electronic Order Granting

 Mot. Intervene, Cusick v. Southwest Airlines Co., No. 3:09-cv-00137-O (N.D. Tex. May 22,

 2012), ECF No. 94. At the time, Plaintiffs did not state the explicit purpose of the intervention,

 i.e., that Intervenors would be used for Chem-Mill AD claims and that those claims would be the

 only ones pursued in the Motion for Class Certification.         See generally Unopposed Mot.

 Intervene, Lopez v. Southwest Airlines Co., No. 3:08-cv-01975-O (N.D. Tex. May 21, 2012),

 ECF No. 154; Unopposed Mot. Intervene, Cusick v. Southwest Airlines Co., No. 3:09-cv-00137-

 O (N.D. Tex. May 21, 2012), ECF No. 93. In the wake of the now undisputed fact that

 Intervenors did fly on Chem-Mill AD flights, the Court must analyze whether their intervention

 was proper.

        In the Texas lawsuit, Lopez v. Southwest Airlines Co., these issues present a serious and

 ultimately dispositive procedural defect. As the Court will explain below, none of the original

 Texas named Plaintiffs had standing to bring their claims, especially not the Chem-Mill AD



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 claim, because none of them flew on such a flight; therefore, they could not suffer an injury.

 This defect defeated the Court’s jurisdiction from the outset.        Since this Court never had

 jurisdiction over these claims, no tolling standards—whether cross-jurisdictional or otherwise—

 would apply, and the four-year Texas statute of limitations continued to run. Therefore, although

 Intervenor-Plaintiffs did fly on Chem-Mill AD flights, they intervened after the statute of

 limitations in Texas had expired. Furthermore, Intervenors’ claims could not relate back to the

 original filing date because there was no case over which the Court had jurisdiction. Finally,

 Intervenors’ Chem-Mill AD claims in Lopez cannot survive independently, because the statute of

 limitations has expired in Texas, extinguishing the ability to sue absent the ability to use relation

 back.

         Plaintiffs argue at length that Intevenors’ Chem-Mill AD claims were tolled because

 Chem-Mill AD flights were included in the broad original complaint. Pls.’ Resp. Mot. Dismiss

 6–8, ECF No. 187. However, the Court finds this position untenable. Plaintiffs cannot plead

 broadly—without a plaintiff with standing to bring each separate claim—to toll all related

 claims, and then return after the statute of limitations has expired to cure any defects. The fact

 that the claims all concerned similar air-safety violations is not enough to overcome the glaring

 procedural problem. While the dismissal is on strictly technical grounds, the Constitution and

 precedent require such a result.

         The Alabama lawsuit, Cusick v. Southwest Airlines Co., suffers from the same procedural

 defects as Lopez on the issues of standing and relation back. While the named Plaintiffs did not

 fly on any flights that allegedly violated airworthiness directives, Intervenors may have

 independent standing. Because there was no valid case to intervene, the intervention was not

 proper, and the Court will dismiss Intervenors’ claims without prejudice, allowing them to re-file



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 subject to the respective statutes of limitations. The Court holds that the statutes of limitations

 on Intervenors’ claims were tolled from the time of their attempted intervention until this

 dismissal. This is because Intervenors likely relied on these pending cases to address any

 injuries they suffered arising out of Southwest’s alleged failures to comply with federal safety

 regulations. Lastly, Plaintiffs request that the Court make an Erie guess regarding Alabama’s

 statute of limitations. The Court finds this unnecessary, since the claims are being dismissed due

 to lack of subject-matter jurisdiction and relation back. Nevertheless, the Court is willing to

 address those arguments in the alternative and finds that it is unlikely that Alabama recognizes a

 cause of action for breach of an express warranty for services unrelated to housing construction.

 II. DISCUSSION

        A. Original Plaintiffs in Both Cases Lack Standing

        “[S]tanding is an essential and unchanging part of the case-or-controversy requirement of

 Article III.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). When a plaintiff cannot

 satisfy the standing requirements imposed by Article III, courts lack subject-matter jurisdiction

 over a case. See Cadle Co. v. Neubauer, 562 F.3d 369, 371 (5th Cir. 2009). To prove standing

 to bring a claim in federal court, “a litigant must demonstrate that it has suffered a concrete and

 particularized injury that is either actual or imminent, that the injury is fairly traceable to the

 defendant, and that it is likely that a favorable decision will redress that injury.” Massachusetts

 v. E.P.A., 549 U.S. 497, 517 (2007).

        The Court is not persuaded that Plaintiffs suffered an injury due to the alleged

 “widespread systemic failure by Southwest” when they cannot show that they flew on an aircraft

 that was in any way defective. Pls.’ Surreply Mot. Dismiss 3, ECF No. 202. The intervention of

 new plaintiffs who would have standing does not cure the problem. The Fifth Circuit has stated



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 unequivocally that “where a plaintiff never had standing to assert a claim against the defendants,

 it does not have standing to amend the complaint and control the litigation by substituting new

 plaintiffs, a new class, and a new cause of action.” Summit Office Park, Inc. v. U.S. Steel Corp.,

 639 F.2d 1278, 1282 (5th Cir. Unit A Mar. 1981). Additionally, Plaintiffs must satisfy subject-

 matter jurisdiction at all times.     Sommers Drug Stores Co. Emp. Profit Sharing Trust v.

 Corrigan, 883 F.2d 345, 348 (5th Cir. 1989).

        “A case is properly dismissed for lack of subject matter jurisdiction when the court lacks

 statutory or constitutional power to adjudicate the case.” Home Builders Ass’n of Miss., Inc. v.

 City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998). An “essential component[]” of a federal

 court’s subject-matter jurisdiction is the plaintiff’s standing to invoke the court’s adjudicatory

 power. See Sample v. Morrison, 406 F.3d 310, 312 (5th Cir. 2005) (per curiam). To establish

 standing, a plaintiff must demonstrate “an injury in fact—a harm suffered by the plaintiff that is

 concrete and actual or imminent, not conjectural or hypothetical.” Steel Co. v. Citizens for a

 Better Env’t, 523 U.S. 83, 103 (1998) (citation and internal quotation marks omitted). Failure to

 establish an injury in fact “deprives the federal courts of jurisdiction to hear the suit.” See, e.g.,

 Rivera v. Wyeth-Ayerst Labs., 283 F.3d 315, 319 (5th Cir. 2002). Furthermore, defects in

 subject-matter jurisdiction can be raised at any time during the proceedings or even sua sponte

 by the court. Fed. R. Civ. P. 12(h)(3). In ruling on a challenge to the court’s subject-matter

 jurisdiction, the court may consider “(1) the complaint alone; (2) the complaint supplemented by

 undisputed facts evidenced in the record; or (3) the complaint supplemented by undisputed facts

 plus the court’s resolution of disputed facts.” Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir.

 May 1981).




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         Here, Plaintiffs made broad claims about flight safety violations but did not include as

 plaintiffs any individuals who flew on Chem-Mill AD flights or any other flight that was in

 violation of a federal safety regulation. Plaintiffs concede that none of the original named

 plaintiffs flew on Chem-Mill AD flights, and instead argue that Intervenors did. See generally

 Pls.’ Resp. Mot. Dismiss, ECF No. 187.           Plaintiffs contend that “[t]he mere fact that the

 Intervenors have sought to certify a smaller subset of the claims contained in the Complaint does

 not mean that the original Plaintiffs do not have standing; in fact, there is no reason any of the

 Plaintiffs would lose standing.” Id. at 5. However, this argument misses the point. The

 potential certification of a subset of claims would, of course, not eliminate the standing of

 plaintiffs who would not fit into the class; it would merely preclude those plaintiffs from

 participating in the class action. The plaintiffs who would not fit into the class would still be

 able to assert any non-class claims they had. The problem here is that the original named

 Plaintiffs never had standing to bring any claims because they have not demonstrated that they

 were on an aircraft that violated the federal regulations and airworthiness directives that form the

 basis of their lawsuit. In short, for Plaintiffs to retain standing, they must have it from the outset.

 The fact that Intervenors would have had standing if they had been originally named as plaintiffs

 in this litigation is irrelevant.

         At least one named plaintiff must suffer an “injury in fact” and “the ‘injury in fact’ test

 requires more than an injury to a cognizable interest. It requires that the party seeking review be

 himself among the injured.” Sierra Club v. Morton, 405 U.S. 727, 734–35 (1972). Thus, “[a]n

 intervenor lacking an independent jurisdictional basis cannot maintain suit where the court

 lacked original subject matter jurisdiction.” Simmons v. Interstate Commerce Comm’n, 716 F.2d

 40, 46 (D.C. Cir. 1983). None of the original Plaintiffs can meet this requirement because none



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 can satisfy the three basic requirements of standing: (1) there must be an injury in fact; (2) there

 must be a causal connection between the injury and the conduct complained of; and (3) it must

 be likely, as opposed to speculative, that the injury will be redressed by a favorable decision. See

 Nat’l Rifle Ass’n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms, & Explosives, 700 F.3d

 185 (5th Cir. 2012) (citing Lujan, 504 U.S. at 560). The original Plaintiffs suffered no injury in

 fact because none of them flew on a flight that was defective under federal regulations.

        Plaintiffs argue that “all the original Plaintiffs had standing at the time the Original

 Complaint was filed because the Original Complaint alleged broad-based violations of federal

 regulations.” Pls.’ Resp. Mot. Dismiss 3, ECF No. 187. At the pleading stage, there is a

 presumption of standing, but that presumption has been rebutted because after years of discovery

 Plaintiffs have failed to produce evidence indicating that they were on a defective flight. See

 Lujan, 504 U.S. at 560–61 (“At the pleading stage, general factual allegations of injury resulting

 from the defendant’s conduct may suffice, for on a motion to dismiss [the court] ‘presume[s]

 general allegations embrace those specific facts that are necessary to support the claim.’”

 (quoting Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 889 (1990))). This is no longer the

 pleading stage and Plaintiffs are no longer entitled to this presumption. Southwest has made a

 factual attack on Plaintiffs’ standing, which they were obligated to defend. It is Plaintiffs’

 burden to prove that they have standing as part of their burden of establishing by a

 preponderance of the evidence that this Court has jurisdiction. See, e.g., Menchaca v. Chrysler

 Credit Corp., 613 F.2d 507, 511 (5th Cir. 1980). Plaintiffs cannot now reverse engineer a

 legitimate claim by inserting Intervenors, because the Court never had proper subject-matter

 jurisdiction over even the broadest of these claims. In other words, this defect cannot be cured

 retroactively since the statute of limitations has now expired.



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        In the absence of original plaintiffs with standing, the legal effect of the intervention is

 itself called into question. When the Court approved the intervention, it was procedural; it was

 not a validation of the jurisdiction of the original claimants.          It is well established that

 intervention presupposes the pendency of an action in a court of competent jurisdiction. See

 Kendrick v. Kendrick, 16 F.2d 744, 745 (5th Cir. 1926) (“An existing suit within the court’s

 jurisdiction is a prerequisite of an intervention, which is an ancillary proceeding in an already

 instituted suit or action . . . .”). Furthermore, “[i]ntervention cannot cure any jurisdictional defect

 that would have barred the federal court from hearing the original action.                Intervention

 presupposes the pendency of an action in a court of competent jurisdiction and cannot create

 jurisdiction if none existed before.”     7C Charles Alan Wright et al., Federal Practice and

 Procedure § 1917 (3d ed. 2013) (footnotes omitted).

        In the wake of Plaintiffs now narrowing their focus only to the Chem-Mill AD claims, it

 is clear that the Court never had proper subject-matter jurisdiction because the original named

 Plaintiffs never flew on a Chem-Mill AD flight nor any flight alleged to have violated one of the

 named Airworthiness Directives. The Court concludes that the original named Plaintiffs in both

 the Lopez and Cusick litigations have failed to show that they suffered an injury in fact.

 Accordingly, because there was never a proper case or controversy before this Court related to an

 express warranty claim arising out of an alleged violation of the Chem-Mill AD or any other

 federal regulation, this Court’s subject-matter jurisdiction was never properly invoked. See, e.g.,

 O’Shea v. Littleton, 414 U.S. 488, 493–94 (1974). Plaintiffs never had standing, individually or

 on behalf of the purported class, to assert claims for breach of an express warranty relating to an

 alleged Chem-Mill AD violation. See, e.g., Bailey v. Patterson, 369 U.S. 31, 32–33 (1962)




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 (because appellants lacked standing, they could not represent a class of whom they were not a

 part). As a result, the Court must dismiss the original Plaintiffs’ claims without prejudice.

        This defect has fatal consequences for the standing of Intervenors as well. The statute of

 limitations expired on Intervenors’ claims on March 23, 2011—four years from the last allegedly

 non-compliant flight—or at the very latest on April 11, 2012—four years from the filing of the

 last of the two instant lawsuits, and more than four years from the congressional hearings that

 occurred on April 3, 2008. This was either one year and two months, or a month and a half,

 before Intervenors intervened on May 21, 2012. See Unopposed Mot. Intervene, Lopez v.

 Southwest Airlines Co., No. 3:08-cv-01975-O (N.D. Tex. May 21, 2012), ECF No. 154;

 Electronic Order Granting Mot. Intervene, Lopez v. Southwest Airlines Co., No. 3:08-cv-01975-

 O (N.D. Tex. May 22, 2012), ECF No. 155; Unopposed Mot. Intervene, Cusick v. Southwest

 Airlines Co., No. 3:09-cv-00137-O (N.D. Tex. May 21, 2012), ECF No. 93; Electronic Order

 Granting Mot. Intervene, Cusick v. Southwest Airlines Co., No. 3:09-cv-00137-O (N.D. Tex.

 May 22, 2012), ECF No. 94.

        While the record shows that Intervenors did fly on Chem-Mill AD flights, the Court

 cannot allow intervention when the original named Plaintiffs lacked standing. See Pianta v.

 H.M. Reich Co., 77 F.2d 888, 890 (2d Cir. 1935) (“The right to intervene presupposes an action

 duly brought, and if jurisdiction is lacking at the commencement of the suit, it cannot be aided by

 the intervention of a creditor with a sufficient claim.”); Walters v. Edgar, 163 F.3d 430, 432–33

 (7th Cir. 1998) (“[T]hese plaintiffs never had standing to bring this suit, and so federal

 jurisdiction never attached. . . . [I]f the named plaintiffs lacked standing when they filed the suit,

 there were no other party plaintiffs to step into the breach created by the named plaintiffs’ lack of

 standing . . . .”). Because the pre-existing suit requirement for intervention was never satisfied,



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 there is no basis for intervention. See, e.g., Mattice v. Meyer, 353 F.2d 316, 319 (8th Cir. 1965)

 (Plaintiff “lacked standing at law to maintain the proceeding as a formal action; absent the

 pendency of an action, there was no basis for intervention under Rule 24 [of the Federal Rules of

 Civil Procedure].”).

        Even if any of the original named Plaintiffs had standing to bring claims against

 Southwest for violations of Airworthiness Directives other than the Chem-Mill AD claims, it is

 doubtful that this Court could allow the intervention to boot strap Chem-Mill AD claims that

 were both time-barred and over which the Court did not initially have jurisdiction. Plaintiffs

 have argued that the “broad claims” in the original complaint would justify relation back for

 Intervenors’ Chem-Mill AD claims. Pls.’ Resp. Mot. Dismiss 8–9, ECF No. 187. This argument

 is necessary for Plaintiffs to propose the class certification, which only focuses on the Chem-Mill

 AD flights. See generally Pls.’ Mot. Class Certification, ECF No. 166. Yet the fact that the

 original complaint included the Chem-Mill AD claims would not have automatically allowed the

 intervention, because standing must be addressed issue by issue for each individual claim.

 Therefore, without any plaintiff who had flown on a Chem-Mill AD flight, the Court would not

 have had jurisdiction over Intervenors’ claims. See Lujan, 504 U.S. at 570 n.5; Dall. Gay

 Alliance, Inc. v. Dall. Cnty. Hosp. Dist., 719 F. Supp. 1380, 1384 (N.D. Tex. 1989) (“[I]f none of

 the named plaintiffs seeking to represent a class establishes the requisite case-or-controversy,

 none may seek relief on behalf of himself or any other member of the purported class.”).

        B. Rule 15(c) Relation Back Cannot Cure the Lack of Standing

        Rule 15(c) of the Federal Rules of Civil Procedure explains the circumstances under

 which “[a]n amendment to a pleading relates back to the date of the original pleading.” Fed. R.

 Civ. P. 15(c). It is undisputed that Rule 15(c) could allow for the addition of new plaintiffs in a



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 class-action lawsuit, provided that the claims of the new plaintiffs relate back to the original

 filing date. Yet here, Intervenors’ claims cannot relate back to the original filing date because

 the Court does not have subject-matter jurisdiction over the original complaint. See, e.g., Fed.

 Recovery Servs., Inc. v. United States, 72 F.3d 447, 453 (5th Cir. 1995) (“[N]either Rule 15 nor

 any other rule of civil procedure permit [the original named plaintiff] to cure this [subject-matter]

 jurisdictional defect by including or substituting [a new plaintiff].”); see also In re Direxion

 Shares ETF Trust, 279 F.R.D. 221, 236 (S.D.N.Y. 2012) (“[I]f jurisdiction is lacking at the

 commencement of a suit, it cannot be aided by the intervention of a plaintiff with a sufficient

 claim.”).

        Rule 15(c) cannot cure the original named Plaintiffs’ lack of standing. If there is no pre-

 existing suit for Intervenors to join, the Court cannot offer relief. As the Fifth Circuit stated in

 Summit Office Park, Inc.: “[t]he only proper way a claim could be made was to file a new

 complaint with new plaintiffs, a new class, and a new cause of action.” 639 F.2d at 1284.

 Plaintiffs seek to use Rule 15(c) as a backdoor for the breach-of-express-warranty claims relating

 to the alleged Chem-Mill AD violations, but they fail to adequately consider the underlying and

 preemptory standing problems.

        C. Tolling and the Effect of the Statutes of Limitations in Texas and Alabama on
           Intervenors’ Claims

        Having found that the Court lacks jurisdiction over the original claims, there is no need to

 address the issue of tolling or the Alabama statute of limitations. It is axiomatic that there can be

 no tolling, whether cross-jurisdictional or otherwise, of claims that are not properly before any

 court. Additionally, the parties’ arguments regarding the statutes of limitations are irrelevant

 because the intervention was not proper. Nevertheless, while not necessary, the Court will




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 address in the alternative the Alabama and Texas statutes of limitations to resolve any potential

 confusion.

        The Court notes that, at the earliest, Intervenors’ claims accrued and the statutes of

 limitations began to run on June 18, 2006, because the Southwest flights that allegedly violated

 the Chem-Mill AD occurred between June 18, 2006, and March 23, 2007. If the discovery rule

 applied to these claims, then the claims accrued no later than April 11, 2008, when congressional

 hearings on these violations commenced. The Court will first address the Lopez case and the

 Texas statute of limitations.

                1. Texas Statute of Limitations for Breach of Express Warranty—Lopez Case

        Texas law provides for a four-year limitations period for all claims that do not have an

 express limitations period. Tex. Civ. Prac. & Rem. Code Ann. § 16.051 (West, WestlawNext

 through Ch. 36 of 2013 R.S. of 83d Leg.); see also Stine v. Stewart, 80 S.W.3d 586, 592 (Tex.

 2002) (“A party asserting a breach of contract claim must sue no later than four years after the

 day the claim accrues. It is well-settled law that a breach of contract claim accrues when the

 contract is breached.”). Because breach-of-express-warranty claims do not have an express

 limitations period, the statute of limitations on these claims in Texas is four years.

        Given this undisputed deadline, the Court concludes that the Chem-Mill AD claims and

 any other claims asserted by Intervenors—insofar as they would apply under the laws of Texas—

 are time barred. Even considering the latest possible date for the expiration of the statute of

 limitations, Intervenors would have needed to file their claims on or before April 11, 2012. They

 missed this mark by a month when they filed their Unopposed Motion to Intervene on May 21,

 2012. See Unopposed Mot. Intervene, Lopez v. Southwest Airlines Co., No. 3:08-cv-01975-O

 (N.D. Tex. May 21, 2012), ECF No. 154; Unopposed Mot. Intervene, Cusick v. Southwest



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 Airlines Co., No. 3:09-cv-00137-O (N.D. Tex. May 21, 2012), ECF No. 93. Next, the Court will

 address the Cusick case and the Alabama statute of limitations.

                 2. Alabama Statute of Limitations for Breach of Express Warranty—Cusick Case

         With respect to the applicable statute of limitations in the Cusick lawsuit, the duration is

 less clear. Southwest argues that, like Texas, the applicable limitations period in Alabama is four

 years. Def.’s Surresponse Mot. Dismiss 11–13, ECF No. 205. Plaintiffs argue that Alabama

 case law establishes the applicable limitations period as six years. Pls.’ Surreply Mot. Dismiss

 2–3, ECF No. 202. This presupposes that a claim for breach of an express warranty exists under

 Alabama law, which is similarly unclear. If the Court had found Intervenors’ intervention

 proper, the Court would be required to make an Erie guess regarding whether or not Alabama

 recognizes a cause of action for breach of an express warranty for services and, if so, the length

 of the statute of limitations.

         While essentially academic and immaterial to this holding, the Court will address the

 arguments. The alleged breach of express warranty in this case deals with services, not goods.

 Because the Uniform Commercial Code (“UCC”) provisions related to breach-of-warranty

 claims apply only to sales of goods, the four-year statute of limitations in the UCC for breach-of-

 warranty claims is inapplicable to the present case. See Ala. Code § 7-2-102 (WestlawNext

 through Act 2013-301 of 2013 R.S.) (noting that Article 2 of the Alabama UCC applies only to

 transactions in goods); id. § 7-2-725 (establishing a four-year limitations period for breach-of-

 warranty claims for sales of goods). The Alabama courts have applied the six-year statute of

 limitations for services excluded from the UCC. In Turner v. Westhampton Court, L.L.C., a case

 involving the purchase of a new home, the Alabama Supreme Court stated that “[t]he statute of

 limitations on a breach-of-express-warranty action is six years.” 903 So. 2d 82, 91 (Ala. 2004)



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 (citing Ala. Code § 6-2-34(9) (“The following must be commenced within six years: . . . Actions

 upon any simple contract or specialty not specifically enumerated in this section.”)).

        Southwest contends that Turner does not recognize a cause of action for breach of

 express warranty for services, arguing that “[t]he express warranty in Turner is thus analogous to

 an express warranty for a good, whereby the manufacturer warrants the tangible good—not the

 manufacturing process—to be free from defects.” Def.’s Surresponse Mot. Dismiss 11, ECF No.

 205. According to Southwest, because the service of an airline flight provides no residue of a

 good, like a home, it is distinguishable. See id. at 11–12. Additionally, Southwest argues that

 even if an express warranty for services is recognized in Alabama, Turner limited it to a

 transaction involving real estate, not services generally. Id. at 12. While the court in Turner did

 not explicitly apply such distinctions when addressing the breach-of-express-warranty claim, the

 Court is struck by the lack of any cases wherein Alabama courts have recognized a cause of

 action for breach of express warranty for pure services unrelated to the construction of homes.

 As a result, the Court’s Erie guess is that the breach of express warranty for pure services is not a

 valid cause of action in Alabama. In other words, even if the Court considered the issue relevant,

 it would not help Plaintiffs’ case.

        Ultimately, the Court finds it appropriate to dismiss Plaintiffs’ claims—including those of

 Intervenors in Florida, Nevada, California and Missouri—without prejudice, allowing

 Intervenors to re-file their lawsuit if they choose, subject to the respective statutes of limitations

 in each state. Lastly, the Court holds that Intervenors’ claims have been tolled from the date of

 their attempted intervention up to the date of this dismissal.




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 III. CONCLUSION

       Based on the foregoing, it is hereby ORDERED that Defendant Southwest’s Motion to

 Dismiss is GRANTED. Intervenors’ claims are hereby DISMISSED without prejudice. The

 remaining named Plaintiffs in the Lopez and Cusick cases are also DISMISSED without

 prejudice.

       SO ORDERED on this 10th day of July, 2013.



                                   _____________________________________
                                   Reed O’Connor
                                   UNITED STATES DISTRICT JUDGE




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